 8:05-cr-00138-JFB-TDT        Doc # 44    Filed: 07/27/05   Page 1 of 1 - Page ID # 122




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )                 8:05CR138
       v.                                   )
                                            )                   ORDER
GUSTAVO AMBRIZ-SALDANA,                     )
                                            )
              Defendant.                    )


       The Clerk's Office has requested that Document Number 38 be stricken from the

record for the following reason:

              •      Incorrect/Incomplete PDF document attached.

       IT IS ORDERED that the Clerk’s Office shall strike Document Number 38 from the

record. The party is has re-filed the document.

       DATED this 27th day of July, 2005.

                                          BY THE COURT:

                                          s/Thomas D. Thalken
                                          United States Magistrate Judge
